      Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 1 of 26

                                                                                      u. fllm~cQRT
                                                                                  EASTERN   DISTRICT ARKANSAS

                  IN THE UNITED STATES DISTRICT COURT        JAN 2 2 2020
                      EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION          JA~ES W-:ff RMACK 1 CLERK
                                                      By.                 DEPCLER

JOHNATHAN YASEVICH, KRISTEN COSTNER,                          PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
                                           This case assigned to District Judge                      &k.er _
ASHLEY WEST, Each Individually and         and to Magistrate Judge                     Kearne~
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-Ji-          K6'B
THE HERITAGE COMPANY, INC.,                                                   DEFENDANTS
and SANDRA FRANECKE


         ORIGINAL COMPLAINT-CLASS AND COLLECTIVE ACTION


        COME NOW Plaintiffs Johnathan Yasevich, Kristen Costner, Ronald

Denney, Desaray Holmes, Sierra Nelson, Katie Reed, Lonna Rose, Kadi

Stonecipher, and Ashley West (collectively "Hourly Plaintiffs") and Plaintiffs

Danielle Gross, Heath Hatcher, and Joshua Stringer (collectively with Hourly

Plaintiffs, "Plaintiffs"), by and through their attorneys Daniel Ford and Josh

Sanford of the Sanford Law Firm, PLLC, and for their Original Complaint-Class

and Collective Action ("Complaint") against Defendants The Heritage Company,

Inc., and Sandra Franecke (collectively "Defendant" or "Defendants"), they do

hereby state and allege as follows:

                     I.        PRELIMINARY STATEMENTS

        1.   Plaintiffs bring this action under the Fair Labor Standards Act, 29

U.S.C. § 201, et seq. ("FLSA"), the Arkansas Minimum Wage Act, Ark. Code

                                        Page 1 of 17
               Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                         U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                     Orlglnal Complaint-Class and Collective Action
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 2 of 26



Ann. § 11-4-201, et seq. ("AMWAn), and under the Worker Adjustment and

Retraining Notification Act, 29 U.S.C. § 2101, et seq. (ihe WARN Actn), for

declaratory judgment, monetary damages, liquidated damages, prejudgment

interest, costs and a reasonable attorney's fee as a result of Defendant's failure

to pay Plaintiffs overtime wages as required by the FLSA and AMWA, and as a

result of Defendant's failure to provide sufficient notice of mass layoffs or plant

closure as required by the WARN Act.

                      II.        JURISDICTION AND VENUE

        2.    The United States District Court for the Eastern District of Arkansas

has subject matter jurisdiction over this suit under the provisions of 28 U.S.C. §

1331 because this suit raises federal questions under the FLSA and the WARN

Act.

        3.    Hourly Plaintiffs' claims under the AMWA form part of the same

case or controversy and arise out of the same facts as the FLSA claims alleged

in this Complaint. Therefore, this Court has supplemental jurisdiction over Hourly

Plaintiffs' AMWA claims pursuant to 28 U.S.C. § 1367(a).

        4.    Venue lies properly within this Court under 28 U.S.C. § 1391(b)(1)

and (c)(2), because the State of Arkansas has personal jurisdiction over

Defendant, and Defendant therefore "residesn in Arkansas.

        5.    The acts alleged in this Complaint had their principal effect within

the Northern Division of the Eastern District of Arkansas, and venue is proper in

this Court pursuant to 28 U.S.C. § 1391.



                                         Page 2 of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                      Orlglnal Complalnt---Class and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 3 of 26



                               Ill.       THE PARTIES

      6.       Plaintiff Johnathan Yasevich is an individual and a resident and

domiciliary of Arkansas.

      7.       Plaintiff Kristin Costner is an individual and a resident and

domiciliary of Arkansas.

      8.       Plaintiff Ronald Denney is an individual and a resident and

domiciliary of Arkansas.

      9.       Plaintiff Danielle Gross is an individual and a resident and

domiciliary of Arkansas.

       10.     Plaintiff Heath Hatcher is an individual and a resident and

domiciliary of Arkansas.

       11.     Plaintiff Desaray Holmes is an individual and a resident and

domiciliary of Arkansas.

       12.     Plaintiff Sierra Nelson is an individual and a resident and

domiciliary of Arkansas.

       13.     Plaintiff Katie Reed is an individual and a resident and domiciliary

of Arkansas.

       14.     Plaintiff Lonna Rose is an individual and a resident and domiciliary

of Arkansas.

       15.     Plaintiff Kadi Stonecipher is an individual and a resident and

domiciliary of Arkansas.

       16.     Plaintiff Joshua Stringer is an individual and a resident and

domiciliary of Arkansas.

                                         Page3of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                      Orlglnal Complaint-Class and Collective Action
     Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 4 of 26



       17.     Plaintiff Ashley West is an individual and a resident and domiciliary

of Arkansas.

       18.     Defendant The Heritage Company, Inc. ("Heritage Company") is a

domestic for-profit corporation.

       19.     Heritage Company's registered agent for service is Charles D.

Davidson, at 724 Garland Street, Little Rock, Arkansas 72201.

       20.     Defendant Sandra Franecke ("Franecke") is an individual and

resident and domiciliary of Arkansas.

       21.     Franecke is the owner, principal, officer and/or director of Heritage

Company.

       22.     Franecke manages and controls the day-to-day operations of

Heritage Company, including but not limited to the decision to not pay Hourly

Plaintiffs a sufficient premium for hours worked in excess of forty (40) per week

       23.     At all times relevant hereto, Defendants had the power to hire and

fire employees, and supervised and set wages and wage policies for employees.

       24.     During the relevant time, Defendant had at least two (2) employees

who engaged in interstate commerce or in the production of goods for interstate

commerce, or who handled, sold, or otherwise worked on goods or materials that

had been moved in or produced for interstate commerce.

       25.     Defendant's annual gross volume of sales made or business done

was not less than $500,000.00 (exclusive of excise taxes at the retail level that

are separately stated) during each of the three calendar years preceding the

filing of this complaint.

                                          Page4of17
                 Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.) Cue No. 3:20-cv-_
                       Orlglnal Complaint-Class and Collectlve Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 5 of 26



      26.     Defendant employed more than four employees within the State of

Arkansas during each of the four years preceding the filing of this Complaint.

      27.     Defendant employed 100 or more employees, excluding part-time

employees, at the time it closed.

                     IV.          FACTUAL ALLEGATIONS

      28.     Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.

      29.     During the time period relevant to this lawsuit, Defendant operated

call-centers throughout Arkansas.

       30.    Plaintiff Yasevich worked as an hourly-paid employee for

Defendant from October of 2014 to December of 2019.

       31.    Each Hourly Plaintiff worked as an hourly-paid employee for

Defendant during the three years preceding the filing of this lawsuit.

       32.    Defendant employed Hourly Plaintiffs as telemarketing sales

representatives.

       33.    Defendant directly hired Hourly Plaintiffs and similarly situated

employees to work in its facilities, paid them wages and benefits, controlled their

work schedules, duties, protocols, applications, assignments and employment

conditions, and kept at least some records regarding their employment.

       34.    At all relevant times, Hourly Plaintiffs have been classified as non-

exempt from the overtime provisions of the FLSA.

       35.    Hourly Plaintiffs and similarly situated employees regularly worked

over forty hours in a workweek.

                                        Page 5of17
               Johnathan Yaaevlch, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.) case No. 3:20-cv-_
                      Original Complaint-Clan and Collectlve Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 6 of 26



        36.    Hourly Plaintiffs were paid "straight time," meaning they did not

receive an overtime premium for hours worked over forty (40) in a week.

        37.    Defendant failed to pay Hourly Plaintiffs and similarly situated

employees one and one-half times their regular rate of pay for all hours worked

over forty in a workweek.

        38.    Hourly Plaintiffs were paid only for time spent logged into certain

programs.

        39.    Hourly Plaintiffs were required to switch programs approximately

four to five times per day.

        40.    The time it took to switch programs took up to five minutes at a

time.

        41.    Because Hourly Plaintiffs were not paid for the time it took to switch

programs, each Hourly Plaintiff worked approximately two hours per week for

which they were not paid.

        42.    On or around December 20, 2019, Defendant notified Plaintiffs and

similarly situated employees that Defendant's company was closing, effectively

immediately.

        43.    Defendant did not give Plaintiffs or similarly situated employees

advance notice of the close.

        V.        REPRESENTATIVE ACTION ALLEGATIONS-FLSA

        44.    Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.




                                         Page8of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                      Original Complaint-Clas and Collectlve Action
     Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 7 of 26



       45.    Hourly Plaintiffs bring this claim for relief for violation of the FLSA

as a collective action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b),

on behalf of all persons similarly situated as hourly employees who were

employed by Defendant within the applicable statute of limitations period, who

are entitled to payment of the following types of damages:

       A.     Payment for all hours worked, including overtime premiums for all

hours worked over 40 in any week;

       B.     Liquidated damages; and

       C.     Attorney's fees and costs.

       46.    Hourly Plaintiffs propose the following class under the FLSA:

                All hourly-paid employees within the past three years.

       47.    In conformity with the requirements of FLSA Section 16(b), Hourly

Plaintiffs have filed or will soon file a written Consent to Join this lawsuit.

       48.    The relevant time period dates back three years from the date on

which Plaintiffs Original Complaint-Class and Collective Action was filed herein

and continues forward through the date of judgment pursuant to 29 U.S.C. §

255(a), except as set forth herein below.

       49.    The members of the proposed FLSA collective are similarly situated

in that they share these traits:

       A. They were paid hourly;

       B. They were subject to Defendant's common timekeeping system;

       C. They were subject to Defendant's common policy of failing to pay for

all hours worked;

                                         Page 7 of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:2Ckv-_
                      Orlglnal Complaint-Clas and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 8 of 26



         D. They were subject to Defendant's common policy of failing to pay an

overtime premium for all hours worked over forty in a week;

         E. They had substantially similar job duties, requirements, and pay

provisions.

         50.   Hourly Plaintiffs are unable to state the exact number of the class

but believe that the class exceeds one hundred (100) persons.

         51.   Defendant can readily identify the members of the class, who are a

certain portion of the former employees ·of Defendant.

         52.   The names and physical and mailing addresses of the probable

FLSA collective action plaintiffs are available from Defendant.

         53.   The email addresses of many of the probable FLSA collective

action plaintiffs are available from Defendants.

   VI.         RULE 23 CLASS ACTION ALLEGATIONS-the WARN Act

         54.   Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section

         55.   Plaintiffs bring this claim for relief for violation of the WARN Act as

a class action pursuant to Fed. R. Civ. P. 23.

         56.   While Plaintiffs do not know the exact number of potential class

members, upon information and belief, Plaintiffs estimate that there are at least

one hundred (100) other employees who were affected by and did not receive

notice of Defendant's closure.

         57.   Common questions of law or fact common to the class of affected

employees are:

                                          Page8of17
                 Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.} Case No. 3:20-CV-_
                       Ortglnal Complaint-Cl•• and Collective Action
     Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 9 of 26



       A.     Whether Defendant is an employer under the WARN Act;

       B.     Whether the members of the class received timely notice of

Defendant's closure; and

       C.     What each class member's damages will be.

       58.    Plaintiffs' claims are typical of the class of employees affected by

the closure in that they arose from the same employer, the same instance of

Defendant's sudden and untimely closure, and are based on the same legal

theories.

       59.    As former employees who were affected by the December 20

closure, Plaintiffs are not only members of the class, but are adequate class

representatives because Plaintiffs did not receive notice of the closure and

therefore have an interest in seeking recovery for the same types of damages

that members of the class would seek.

       60.    Plaintiffs know of no conflict of interest with the class of employees

who were affected by the closure.

       61.    Plaintiffs have hired the Sanford Law Firm, PLLC, to pursue their

claim for backpay under the WARN Act. The Sanford Law Firm, PLLC, focuses

its practice on plaintiff's employment law. It has represented numerous other

plaintiffs in wage-related class actions within the past five years.

                     VII.      FIRST CAUSE OF ACTION
                  (Individual Claims for Violation of the FLSA)

       62.    Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.


                                         Page9of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                       Orlglnal Complaint-Class and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 10 of 26



       63.     Hourty Plaintiffs assert this claim for damages and declaratory relief

pursuant to the FLSA, 29 U.S.C. § 201,         et seq.
       64.     At all times relevant to this Complaint, Defendant has been Hourty

Plaintiffs' "employer" within the meaning of the FLSA, 29 U.S.C. § 203.

       65.     At all times relevant to this Complaint, Defendant has acted as an

enterprise engaged in commerce within the meaning of the FLSA, 29 U.S.C. §

203.

       66.     29 U.S.C. § 207 requires any enterprise engaged in commerce to

pay all employees one and one-half times regular wages for all hours worked

over forty (40) in a week, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying Department of Labor

regulations.

       67.     Defendant classified Hourty Plaintiffs as non-exempt from the

requirements of the FLSA.

       68.     Despite the entitlement of Hourty Plaintiffs to overtime payments

under the FLSA, Defendant failed to pay Hourty Plaintiffs for all hours worked,

including an overtime rate of one and one-half times their regular rate of pay for

all hours worked over forty (40) in each week.

       69.     Defendant's failure to pay Hourty Plaintiffs overtime wages owed

was willful.

       70.     By reason of the unlawful acts alleged herein, Defendant is liable to

Hourty Plaintiffs for monetary damages, liquidated damages, and costs, including



                                         Page 10 of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                      Orlglnal Complaint-Class and Collectlve Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 11 of 26



reasonable attorneys' fees, for all violations that occurred within the three (3)

years prior to the filing of this Complaint.

                   VIII.     SECOND CAUSE OF ACTION
                 (Individual Claims for Violation of the AMWA)

       71.     Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.

       72.     Hourly Plaintiffs assert this claim for damages and declaratory relief

pursuant to the AMWA, Ark. Code Ann. § 11-4-201, et seq.

       73.     At all times relevant to this Complaint, Defendant was Hourly

Plaintiffs' "employer" within the meaning of the AMWA, Ark. Code Ann. § 11-4-

203(4).

       74.     Arkansas Code Annotated§§ 11-4-210 and 211 require employers

to pay all employees a minimum wage for all hours worked up to forty (40) in one

week and to pay one and one-half times regular wages for all hours worked over

forty (40) in a week, unless an employee meets the exemption requirements of

29 U.S.C. § 213 and accompanying Department of Labor regulations.

       75.     Defendant classified Hourly Plaintiffs as non-exempt from the

requirements of the AMWA.

       76.     Despite the entitlement of Hourly Plaintiffs to overtime payments

under the AMWA, Defendant failed to pay Plaintiff for all hours worked, including

an overtime rate of one and one-half times their regular rate of pay for all hours

worked over forty (40) in each week.

       77.     Defendant's failure to pay Hourly Plaintiff overtime wages owed

was willful.
                                         Page 11 of17
                Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                          U.S.D.C. (E.D. Ark.) Case No. 3:20-CV-_
                      Original Complaint-Class and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 12 of 26



       78.      By reason of the unlawful acts alleged herein, Defendant is liable to

Hourly Plaintiffs for monetary damages, liquidated damages, and costs, including

reasonable attorneys' fees, for all violations that occurred within the 3 years prior

to the filing of this Complaint pursuant to Ark. Code Ann. § 11-4-218.

                      IX.      THIRD CAUSE OF ACTION
                (Individual Claims for Violation of the WARN Act)

       79.      Plaintiffs repeat and re-allege all previous paragraphs of this

Complaint as though fully incorporated in this section.

       80.      Plaintiffs assert this claim for damages and declaratory relief

pursuant to the WARN Act, 29 U.S.C. § 2101, et seq.

       81.      At all times relevant to this Complaint, Defendant was Plaintiffs'

"employer" within the meaning of the WARN Act, 29 U.S.C. § 2101(a)(1).

       82.      29 U.S.C. § 2102 prohibits employers from ordering a plant closing

or mass layoff until the end of a 60-day period after the employer serves written

notice of such an order to each affected employee or the employees

representative.

       83.      29 U.S.C. § 2104 states that any employer who orders a plan

closing or mass layoff in violation of § 2102 shall be liable to each aggrieved

employee who suffers an employment loss as a result of such closing or layoff for

backpay for each day of violation.

       84.      Defendant failed to notify Plaintiffs of its closing sixty days before

such closure.

       85.      Defendant notified Plaintiffs of its closing on the day Defendant

closed.
                                           Page 12of17
                  Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                            U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                        Orlglnal Complalnt--Cl•s and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 13 of 26



       86.     By reason of the unlawful acts alleged herein, Defendant is liable to

each Plaintiff for backpay for each day of violation at a rate of compensation not

less than either their average regular rate during the last three years of each

Plaintiffs employment, or each Plaintiffs final regular rate, whichever is higher.

29 U.S.C. § 2104(a)(1)(A). Defendant is also liable to Plaintiffs for a reasonable

attorney's fee. 29 U.S.C. § 2104(a)(6).

                    X.       FOURTH CAUSE OF ACTION
                 (Collective Action Claim for Violation of FLSA)

       87.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       88.     Hourly Plaintiffs assert this claim for damages and declaratory relief

on behalf of all similarly situated employees pursuant to the FLSA, 29 U.S.C. §

201, et seq.

       89.     29 U.S.C. § 207 requires employers to pay employees one and

one-half (1.5) times the employee's regular rate for all hours that the employee

works in excess of forty (40) per week.

       90.     Defendant classified Hourly Plaintiffs and other similarly situated

employees as non-exempt from the overtime provisions of the FLSA.

       91.     Defendant failed to pay Hourly Plaintiffs and similarly situated

employees one and one-half (1.5) times their regular rate for all hours worked

over forty (40) per week.

       92.     In the past three years, Defendant has employed more than one

hundred (100) hourly-paid employees.


                                          Page 13of17
                 Johnathan Yasevich, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.) Case No. 3:20-CV-_
                       Original Complaint-Class and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 14 of 26



       93.     Defendant's conduct and practice, as described above, has been

and is willful, intentional, unreasonable, arbitrary and in bad faith.

       94.     By reason of the unlawful acts alleged herein, Defendant is liable to

Hourly Plaintiffs and all similarly situated employees for monetary damages,

liquidated damages, and costs, including reasonable attorney's fees provided by

the FLSA for all violations which occurred beginning at least three (3) years

preceding the filing of Plaintiffs' initial complaint, plus periods of equitable tolling.

       95.    Alternatively, should the Court find that Defendant acted in good

faith in failing to pay Hourly Plaintiffs and all those similarly situated as provided

by the FLSA, Hourly Plaintiffs and all those similarly situated are entitled to an

award of prejudgment interest at the applicable legal rate.

                    XI.      FIFTH CAUSE OF ACTION
              (Class Action Claim for Violation of the WARN Act)

       96.     Plaintiffs repeat and re-allege all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       97.     Plaintiffs assert this claim for damages and declaratory relief on

behalf of all members of the putative class pursuant to the WARN Act, 29 U.S.C.

§ 2101, et seq.

       98.     At all times relevant to this Complaint, Defendant was the

"employer" of Plaintiffs and the putative class within the meaning of the WARN

Act, 29 U.S.C. § 2101 (a)(1 ).

       99.     29 U.S.C. § 2102 prohibits employers from ordering a plant closing

or mass layoff until the end of a 60-day period after the employer serves written


                                          Page 14of17
                  Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                            U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                        Original Complaint-Clas and Collectlve Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 15 of 26



notice of such an order to each affected employee or the employees

representative.

       100.   29 U.S.C. § 2104 states that any employer who orders a plan

closing or mass layoff in violation of § 2102 shall be liable to each aggrieved

employee who suffers an employment loss as a result of such closing or layoff for

backpay for each day of violation.

       101.   Defendant failed to notify Plaintiffs and the putative class of its

closing sixty days before such closure.

       102.   Defendant notified Plaintiffs and the putative class of its closing on

the day Defendant closed.

       103.   By reason of the unlawful acts alleged herein, Defendant is liable to

Plaintiffs and each member of the putative class for backpay for each day of

violation at a rate of compensation not less than either their average regular rate

during the last three years of each putative class member's employment, or their

final regular rate, whichever is higher. 29 U.S.C. § 2104(a)(1)(A). Defendant is

also liable to Plaintiffs and the putative class for a reasonable attorney's fee. 29

U.S.C. § 2104(a)(6).

                          XII.         PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiffs respectfully request this

Court grant the following relief:

       A.     Summon each Defendant to appear and answer herein;

       B.     Enter declaratory judgment that the practices complained of herein

are unlawful under Federal and Arkansas law;

                                          Page 15of17
                  Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                             U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                         Original Complaint-Clas and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 16 of 26



       C.       Enter an Order for complete and accurate accounting of all the

compensation to which Plaintiffs, the collective and the class is entitled;

       D.       Award Hourly Plaintiffs and the collective compensatory damages

in an amount equal to the unpaid back wages at the applicable minimum wage

for a period of three (3) years prior to this lawsuit through the date of trial;

       E.       Award a judgment for liquidated damages pursuant to the Fair

Labor Standards Act, 29 US.C. § 201, et seq., and attendant regulations at 29

C.F.R. § 516 et seq., in an amount equal to all unpaid compensation owed to

Hourly Plaintiffs and the collective during the applicable statutory period;

       F.       Award a judgment for liquidated damages pursuant to the Arkansas

Minimum Wage Act, Ark. Code Ann. § 11-4-201, et seq. and the related

regulations in an amount equal to all unpaid compensation owed to Hourly

Plaintiffs during the applicable statutory period;

       G.       Award Plaintiffs and the class a judgment for compensatory

damages in an amount equal to the unpaid back wages at the applicable rate

pursuant to the Worker Adjustment and Retraining Notification Act, 29 U.S.C. §

2101, et seq.;

       H.       For certification of and notice to the collective and class to be

determined by motions practice;

       I.       An award to Plaintiffs of all recoverable costs, expenses, and

attorneys' fees incurred in prosecuting this action, together with all applicable

interest; and



                                         Page 16of17
                 Johnathan Yuevlch, et al, v. The Heritage Company, Inc., et al.
                           U.S.D.C. (E.D. Ark.) Case No. 3:20-cv-_
                       Orlglnal Complaint-Clas and Collective Action
    Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 17 of 26



       J.      All such other and further relief to which this Court may find

Plaintiffs entitled.


                                                          Respectfully submitted,

                                                          JOHNATHAN YASEVICH, KRISTIN
                                                          COSTNER, RONALD DENNEY,
                                                          DANIELLE GROSS, HEATH
                                                          HATCHER, DESARAY HOLMES,
                                                          SIERRA NELSON, KATIE REED,
                                                          LONNA ROSE, KADI
                                                          STONECIPHER, JOSHUA
                                                          STRINGER, and ASHLEY WEST,
                                                          Each Individually and on Behalf
                                                          of All Others Similarly Situated,
                                                          PLAINTIFFS

                                                          SANFORD LAW FIRM, PLLC
                                                          ONE FINANCIAL CENTER
                                                          650 SOUTH SHACKLEFORD, SUITE 411
                                                          LITTLE ROCK, ARKANSAS 72211
                                                          TELEPHONE: (501) 221-0088
                                                          FACSIMILE: (888) 787-2040



                                                        ~na'~
                                                          Ark. Bar No. 2014162
                                                          daniel@sanfordlawfirm.com




                                          Page 17of17
                  Johnathan Yasevlch, et al, v. The Heritage Company, Inc., et al.
                            U.S.D.C. (E.D. Ark.) Case No. 3:2Ck:v-_
                        Orlglnal Complaint-Class and Collective Action
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 18 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
andSANDRAFRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hour1y-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                JOHNATHAN YASEVICH

                                                January 21, 2020


Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 19 of 26



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated

vs.                                 No. 3:20-cv-_ _


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
andSANDRAFRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                KRISTEN COSTNER

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facslmlle: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 20 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                RONALD DENNEY

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 21 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
andSANDRAFRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hour1y-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                DESARAY HOLMES

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 22 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-_ _


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hour1y-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                SIERRA NELSON

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 23 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                KATIE REED

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facslmlle: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 24 of 26



                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-_ _


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                LONNA ROSE

                                                January 21, 2020




Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Sutte 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 25 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated


vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                 KADI STONECIPHER

                                                January 21, 2020



Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
       Case 3:20-cv-00019-KGB Document 1 Filed 01/22/20 Page 26 of 26



                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              NORTHERN DIVISION


JOHNATHAN YASEVICH, KRISTEN COSTNER,                                        PLAINTIFFS
RONALD DENNEY, DANIELLE GROSS, HEATH
HATCHER, DESARAY HOLMES, SIERRA
NELSON, KATIE REED, LONNA ROSE, KADI
STONECIPHER, JOSHUA STRINGER, and
ASHLEY WEST, Each Individually and
on Behalf of All Others Similarly Situated

vs.                                 No. 3:20-cv-__


THE HERITAGE COMPANY, INC.,                                              DEFENDANTS
and SANDRA FRANECKE


                      CONSENT TO JOIN COLLECTIVE ACTION


       I was employed as an hourly-paid worker for The Heritage Company, Inc., within
the past three (3) years. I understand this lawsuit is being brought under the Fair Labor
Standards Act for unpaid wages. I consent to becoming a party-plaintiff in this lawsuit, to
be represented by Sanford Law Firm, PLLC, and to be bound by any settlement of this
action or adjudication by the Court.




                                                ASHLEY WEST

                                                January 21, 2020




Josh Sanford, Esq.
SANFORD LAW FIRM, PLLC
One Financial Center
650 South Shackleford Road, Suite 411
Little Rock, Arkansas 72211
Telephone: (501) 221-0088
Facsimile: (888) 787-2040
josh@sanfordlawfirm.com
